Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 1 of 40




             EXHIBIT 1
   Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 2 of 40




                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS




UNITED STATES OF AMERICA, et al.,


             Plaintiffs,
                                              Civil Action No. 1:21-cv-11558-LTS
                 v.
                                              HIGHLY CONFIDENTIAL
AMERICAN AIRLINES GROUP INC. and
JETBLUE AIRWAYS CORPORATION,

            Defendants.




                             Expert Report of

                              RON DILEO




                              July 11, 2022
         Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 3 of 40

                                                                                       HIGHLY CONFIDENTIAL
                                                                               SUBJECT TO PROTECTIVE ORDER
                                                 TABLE OF CONTENTS

                                                                                                                                       Page

I.       BACKGROUND AND QUALIFICATIONS .....................................................................3

II.      PURPOSE OF ANALYSIS AND MATERIALS CONSIDERED .....................................4

III.     SUMMARY OF OPINIONS ...............................................................................................5

IV.      BACKGROUND ON TRAVEL AGENCIES AND TRAVEL MANAGEMENT
         COMPANIES ....................................................................................................................10

V.       THE NEA BENEFITS TRAVELERS THROUGH EXPANDED SERVICE ..................12

         A.        Corporate Travelers Value a Broad Network ........................................................12
         B.        Airlines Aim to Provide a Broad Network to Corporate Customers .....................14
         C.        The NEA Provides Customers With a Broader Network and Better
                   Schedule .................................................................................................................15

VI.      THE NEA BENEFITS CUSTOMERS THROUGH EXPANDED LOYALTY
         PROGRAMS......................................................................................................................22

VII.     THE NEA BENEFITS CUSTOMERS THROUGH AN ENHANCED
         EXPERIENCE AT NEA AIRPORTS AND ON NEA FLIGHTS ....................................25

VIII.    TRAVELERS BENEFIT FROM THE USE OF LARGER, BETTER-EQUIPPED
         AIRCRAFT ON NEA ROUTES .......................................................................................30

IX.      CONCLUSION ..................................................................................................................31

APPENDIX A: CV OF RON DILEO ............................................................................................32

APPENDIX B: DOCUMENTS RELIED UPON ..........................................................................34




                                                                    2
     Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 4 of 40

                                                              HIGHLY CONFIDENTIAL
                                                      SUBJECT TO PROTECTIVE ORDER
I.   BACKGROUND AND QUALIFICATIONS

1.   My name is Ron DiLeo. For more than forty years, I have worked in a wide variety of

     capacities in the airline travel industry, including positions at travel management

     companies and travel agencies, as a consultant to both corporate travel managers/buyers

     and travel suppliers, as a travel association executive, and as Chief Commercial Officer

     for an airline. Through these roles I have gained firsthand a diverse understanding of

     what travel customers value and demand, whether they are traveling for business or

     pleasure or buying travel on behalf of corporations’ travel programs. I have also gained

     insights into how airlines compete for customer demand, including by offering network

     breadth, providing competitive scheduling, and rewarding preferred customers.

2.   I spent 25 years working at Rosenbluth International (“Rosenbluth”), which was both a

     travel agency and a travel management company (“TMC”). While at Rosenbluth, I

     worked with customers and suppliers on procuring business and leisure travel.

3.   In October 2003, American Express acquired Rosenbluth, and post-acquisition, I became

     Executive Vice President/General Manager, Head of Business Travel for Europe, the

     Middle East, and Africa for American Express. In this role, I was in charge of all

     corporate business, including supplier relationships, operations, call centers, and travel

     agency networks in 23 countries.

4.   In 2007, I left American Express to become the founder of In the Black Group, a business

     performance consultancy that provides consulting services to companies primarily in the

     travel and tourism industries. In this role, my team and I largely negotiate supplier

     contracts on behalf of agencies and TMCs. I have worked at In the Black Group since

     2007, although I have held several other roles concurrently.




                                               3
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 5 of 40

                                                               HIGHLY CONFIDENTIAL
                                                       SUBJECT TO PROTECTIVE ORDER
5.    In 2007, British Airways hired me to manage the commercial work-streams of the

      airline’s startup, OpenSkies, which launched in eighteen months and flew between New

      York and Paris. I was responsible for route planning and revenue management, the

      establishment of the airline’s frequent flyer loyalty program, and all on-board customer

      experiences.

6.    In July 2010, I became the Executive Director and Chief Executive of the Association of

      Corporate Travel Executives (“ACTE”), a trade association that focused on education for

      the travel industry and had in 2010 more than 31,000 members and delegates around the

      world. In this role, I gave lectures and hosted global conferences. ACTE created

      programs that provided training for travel executives on best practices for negotiating

      airline contracts and contracting the services of travel agencies and TMCs, among many

      other topics.

7.    My curriculum vitae is attached as Appendix A.

II.   PURPOSE OF ANALYSIS AND MATERIALS CONSIDERED

8.    I have been asked by counsel for American Airlines Group Inc. (“American”) and

      JetBlue Airways Corporation (“JetBlue”), the Defendants in this case, to provide expert

      testimony on whether and how corporate travelers benefit from the Northeast Alliance

      (“NEA”).

9.    I am being compensated for my work on this matter at a rate of $300 per hour, with limits

      of $1,500 per day and $20,000 per month. The opinions I express here are my own and

      do not necessarily reflect the views of any of my employers or any of their employees.

      My compensation is in no way related to or dependent upon my reaching certain

      conclusions or offering certain expert opinions in this case.




                                               4
       Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 6 of 40

                                                                HIGHLY CONFIDENTIAL
                                                        SUBJECT TO PROTECTIVE ORDER
10.    This report contains a statement of my opinions as well as the basis for those opinions

       and is supported by the work that I have performed to date, as well as my professional

       training and decades of experience. The opinions set forth in this report are based upon

       (i) the documents and data contained in Appendix B, including relevant publicly-

       available information; (ii) case pleadings; (iii) documents produced and deposition

       testimony given in the course of this litigation; (iv) interviews I have conducted of

       American and JetBlue employees; and (v) my own knowledge and experience from

       working in the airline industry for more than four decades. My investigation and

       consideration of the issues in this matter are ongoing. Thus, while I do not expect my

       conclusions to change, my opinions are subject to further documents, data, testimony, and

       other materials that I may review and analyze in the future.

III.   SUMMARY OF OPINIONS

11.    Through my experience in the airline industry, I have gained a deep understanding of

       what corporations and corporate travelers demand when choosing airlines for corporate

       travel. Based on this understanding, I have concluded that the NEA enables American

       and JetBlue to provide benefits that corporations and corporate customers value. Based

       on my experience, it is my opinion that the NEA enables American and JetBlue to

       provide benefits for corporate customers that greatly exceed the benefits that the airlines

       can provide without the NEA. The NEA provides benefits to customers primarily

       through: (1) expanded service; (2) improved flight schedules; (3) expanded loyalty

       programs; (4) an enhanced experience at many NEA airports and on NEA flights; and (5)

       larger, better-equipped aircraft on NEA routes. These benefits are particularly important

       for corporate customers because they travel frequently to a broad array of destinations for

       business. Taken together, these benefits make American and JetBlue into stronger


                                                5
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 7 of 40

                                                               HIGHLY CONFIDENTIAL
                                                       SUBJECT TO PROTECTIVE ORDER
      competitors for corporations that use the New York and Boston airports, allowing them to

      compete more effectively with other airlines, especially Delta and United.

12.   Most large corporations negotiate contracts with one or more airlines that provide

      discounts and other benefits to their corporate travelers. They typically designate one

      airline in the “primary” position and the other airline in the “secondary” position.

      Corporations seek to award the primary position to an airline that can best meet their

      overall travel needs with a combination of a broad network and attractive schedules on

      frequently traveled routes. Airlines in primary position with a corporation also seek to

      secure a volume commitment in exchange for deeper volume discounts. Practically, this

      means that corporations tend to prefer that their employees travel on the primary airline,

      even when the secondary airline offers a competing service on a given route. The

      secondary airline is typically preferred only when the airline provides service on an

      origin and destination pair (“O&D”) that is not a part of the primary airline’s network.

      Each contract cycle (typically one year), airlines compete aggressively to attain the

      primary position for corporate customers. Meanwhile, small to medium enterprises

      (“SMEs”) that are not large enough to negotiate directly with the airlines or do not wish

      to negotiate with airlines often have relationships with travel agencies that have

      negotiated discounts with airlines.

13.   The NEA will allow American and JetBlue to be more competitive in these negotiations

      and provide more options for corporate travelers. The interests of corporations and

      corporate travelers are aligned, as corporations want their employees to use their

      preferred airlines as much as possible. This is much more likely when an airline meets




                                               6
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 8 of 40

                                                                HIGHLY CONFIDENTIAL
                                                        SUBJECT TO PROTECTIVE ORDER
      the needs of corporate travelers and provides the benefits and comfort that travelers

      desire.

14.   The first benefit of the NEA that makes American and JetBlue more competitive is

      expanded service. Many corporations and corporate travelers need and want access to a

      broad airline network. Negotiating separate contracts with separate carriers to address

      travel needs in different locations requires additional time and effort and takes away the

      bargaining power a company creates when it offers to fly one or two airlines. Thus, it is

      preferable to negotiate fewer contracts with carriers that can address all of a company’s

      travel needs, whether directly or through codesharing with partner airlines. The NEA

      enables American and JetBlue to offer customers located in or traveling to, from, or

      through the Northeast the benefits of a broader network that deploys their slots, aircraft,

      facilities, and other assets more efficiently than without the NEA. This makes both

      American and JetBlue more competitive for corporate customers in New York and

      Boston, bringing benefits to both new and existing customers. For example, JetBlue’s

      existing customers benefit from access to the NEA’s significantly broader and deeper

      network than what JetBlue could offer prior to the NEA, and new customers are

      incentivized to enter into corporate contracts with JetBlue or American even where they

      did not previously think these airlines offered a strong value proposition.

15.   Second, the NEA allows American and JetBlue to offer better schedule patterns on key

      business routes, which corporate travelers value tremendously. Corporate travelers often

      need to be in particular places at particular times. For example, a corporate traveler may

      need to travel to attend a business meeting scheduled in the morning, then need to catch a

      flight soon after the end of that meeting to travel to a different location to a meeting




                                                7
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 9 of 40

                                                                HIGHLY CONFIDENTIAL
                                                        SUBJECT TO PROTECTIVE ORDER
      scheduled in the afternoon. Another corporate traveler may need to leave early in the

      morning and return home late in the evening while traveling for an all-day meeting.

      Corporate travelers also require flexibility by having multiple options for travel

      throughout the day. For example, if a meeting ends earlier or later than expected,

      corporate travelers want the ability to change their flights to fit their new schedule. For

      these reasons, it is important for corporate travelers that their preferred airlines maintain a

      robust schedule that suits their needs. The corporations also benefit from airlines that

      offer a robust schedule, not only because their employees are able to better meet their

      travel obligations but also because a robust schedule can help corporations save

      unnecessary costs, such as the cost of paying for a stay at a hotel for an employee who

      could not find a flight home after a meeting ran long. Under the NEA, American and

      JetBlue are offering more time of day options, particularly on business routes, that are

      attractive to corporate customers.

16.   Third, the NEA offers corporate customers a significantly better loyalty program than

      either airline offered standing alone. When making decisions on which carriers to use,

      corporations take into account their corporate travelers’ preferences for airline customer

      loyalty programs. Corporate travelers fly significantly more often than the average

      traveler and, therefore, get more value out of airline loyalty programs. Loyalty programs

      are generally designed to provide increasingly attractive benefits as a customer accrues

      more loyalty points, such as elite status programs that provide complimentary upgrades

      or free checked baggage. Thus, customers find it extremely valuable to accrue loyalty

      points on a single airline so that, for example, a customer can attain elite status through

      frequent business travel and enjoy the benefits of that status for future business and




                                                8
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 10 of 40

                                                                 HIGHLY CONFIDENTIAL
                                                         SUBJECT TO PROTECTIVE ORDER
       leisure travel. Because of the NEA, American and JetBlue allow customers who fly on

       either airline to benefit from the other airline’s loyalty program by allowing customers

       flying on American-operated flights to accrue JetBlue’s TrueBlue frequent flier miles and

       customers flying on JetBlue-operated flights to accrue American’s AAdvantage frequent

       flier miles.1 This is a significant benefit to both airlines’ customers, as it allows them to

       attain elite status on their preferred airline more quickly by earning loyalty points in their

       preferred loyalty program when flying either American or JetBlue. The NEA provides

       the added benefit of recognizing associated status benefits across each other’s flights.2

       Because corporations consider the strength of carriers’ loyalty programs in deciding

       whether to partner with carriers, this loyalty program reciprocity improves American’s

       and JetBlue’s competitive positions.

17.    Fourth, the NEA makes American and JetBlue more competitive by allowing the carriers

       to offer more airport experience benefits to corporate customers. Many travelers,

       particularly those traveling for business, value a comfortable airport experience through

       the use of perks such as lounges, priority boarding, an expedited security process, and the

       ability to check baggage for no additional cost. The more airport perks a corporation can


1
 JetBlue Delivers New Customer Benefits Under Northeast Alliance With Ability to Earn
TrueBlue Loyalty Points on American Airlines Flights, JetBlue Investor Relations (May 26
2021), http://mediaroom.jetblue.com/investor-relations/press-releases/2021/05-26-2021-
140102318 (“JetBlue’s TrueBlue loyalty program members are now eligible to earn points on all
American Airlines-operated flights . . . . At the same time, American’s AAdvantage members
can now accrue miles on all JetBlue flights within and beyond the Northeast . . . .”).
2
  American Airlines and JetBlue Introduce Enhanced Perks for Loyalty Status Members Made
Possible Through the Northeast Alliance, (Mar. 23, 2022), https://news.aa.com/news/news-
details/2022/American-Airlines-and-JetBlue-Introduce-Enhanced-Perks-for-Loyalty-Status-
Members-Made-Possible-Through-the-Northeast-Alliance-NET-ALP-03/default.aspx
(announcing the ability for American and JetBlue status members to access complimentary
benefits such as premium seats, same-day flight change, and lounge access in addition to priority
check-in, priority baggage, priority security, and priority boarding benefits).


                                                 9
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 11 of 40

                                                                HIGHLY CONFIDENTIAL
                                                        SUBJECT TO PROTECTIVE ORDER
      get from an airline, the more likely a corporation is to use that airline as its preferred

      provider. Because of the NEA, both companies have invested in infrastructure

      improvements at NEA airports, benefitting both airlines’ customers.

18.   Fifth, the NEA enables American and JetBlue to offer a more attractive aircraft fleet to

      their corporate customers. Corporations consider an airline’s fleet when selecting a travel

      partner. Larger airplanes may provide more legroom and provide an increased ability to

      roam the cabin, thereby making passengers feel less confined. Larger airplanes are also

      more likely to have more than one class of service, providing travelers with the

      opportunity to enjoy additional comfort from upgraded seats. Larger airplanes also

      simply offer more seats, which means more opportunity for a corporate traveler to find an

      aisle seat or a window seat. The NEA enables more customers to fly on larger, more

      comfortable, aircraft to/from New York and Boston by enabling American and JetBlue to

      fly bigger aircraft out of the New York and Boston airports. Additionally, the NEA

      allows a loyal JetBlue corporate traveler who values business class seats to find

      additional opportunities to fly business class because American offers business class seats

      on many more routes than JetBlue currently does.

IV.   BACKGROUND ON TRAVEL AGENCIES AND TRAVEL MANAGEMENT
      COMPANIES

19.   Travel agencies can specialize in leisure travel, corporate travel, or both. For example,

      Rosenbluth, when I started working there, and ALTOUR, where I later worked, offered

      services for both leisure and corporate travel. By contrast, TripAction, a comparatively

      new TMC, only offers corporate travel management services.

20.   Travel agents’ responsibilities can differ depending on their focus area. Travel agents

      that are focused on corporate travel are primarily tasked with procuring the best itinerary



                                                10
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 12 of 40

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                                                        SUBJECT TO PROTECTIVE ORDER
      to meet their clients’ travel needs at the best price and at the most convenient times while

      also complying with corporations’ travel policies. Travel agents for leisure customers, on

      the other hand, focus more on planning and selling a travel experience for clients, which

      typically requires more intimate knowledge of travel destinations and a keen

      understanding of leisure customer expectations.

21.   TMCs are a type of travel agency that specialize in working primarily with businesses

      and organizations that outsource travel management for their employees. Prior to the

      COVID-19 pandemic, business travelers made up 12% of all travelers, but trips with

      business travelers generated up to 75% of airline revenues on certain routes in the United

      States.3 Consequently, TMCs play an important role in the industry. TMCs can be paid

      for their services on a fee-per-trip, management fee, or subscription basis.

22.   TMCs offer corporate customers a variety of services to manage their employees’ needs.

      TMCs help corporate employees select the best flight options and create travel itineraries,

      book travel, and manage travel arrangements as needed on a 24/7-basis throughout a trip.

      In performing these services, TMCs: (i) ensure that employees’ bookings are consistent

      with their corporation’s travel policies (including by booking with the company’s

      preferred airlines, if any exist); (ii) ensure that employees receive corporate rates that the

      company has negotiated with its preferred airlines, which are typically discounted;

      (iii) provide duty of care support with risk mitigation services to help keep corporate

      employees safe while they are traveling; and (iv) provide customer service that enables

      the traveler to focus on their business rather than the travel experience itself. TMCs’




3
 Alana Semuels, Business Travel’s Demise Could Have Far-Reaching Consequences, TIME
(Oct. 20, 2021), https://time.com/6108331/business-travel-decline-covid-19/.


                                                11
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 13 of 40

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       services also include measuring travel policy compliance and supplier adherence to

       service standards, and providing historic travel spend and predicting future spend.

23.    Corporate customers value TMCs that can procure the best service from airlines in the

       most cost-effective way. Specifically, corporate customers evaluate TMCs based on their

       ability to: (i) offer flights between cities where corporations dispatch travelers and at

       times that suit the corporation’s employee’s needs, (ii) secure seats on the most desirable

       airlines at the best fares, (iii) negotiate company-specific airfares and loyalty program

       perks, and (iv) access airport benefits.

V.     THE NEA BENEFITS TRAVELERS THROUGH EXPANDED SERVICE

       A.      Corporate Travelers Value a Broad Network

24.    Many corporations and corporate travelers need and want access to a broad airline

       network.4 There are several reasons why this is the case. First, corporate customers

       travel to a wide variety of locations around the United States and the globe, and

       negotiating separate contracts with separate carriers to address travel needs in different

       locations is challenging. When contracting with multiple airlines, corporate travel

       programs can become inefficient and sub-optimal because the corporate customers spread

       their demand too thin, and corporations lose out on opportunities for improved terms and



4




                                                              ; Deposition of Barry McMenamin,
at 83:1–6, United States v. American Airlines Grp., Inc. and JetBlue Airways, Corp., Case No.
1:21-cv-11558, May 27, 2022 ( “McMenamin Deposition”) (“If you, as a corporate traveler, are
looking to fly between a market, if it’s not conducive to the business traveler’s schedule, it’s not
going to be successful. So schedule is very important for a business traveler.”).


                                                  12
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 14 of 40

                                                                 HIGHLY CONFIDENTIAL
                                                         SUBJECT TO PROTECTIVE ORDER
      conditions for their traveling employees. Therefore, large corporate clients typically aim

      to travel on no more than two contracted carriers overall and no more than one airline in

      any given city pair. That means that a corporation is more likely to partner with an

      airline that has (1) a broad network and (2) a deep schedule on routes that are important

      to the corporation.

25.   Second, selecting an airline that offers a broad network allows corporations to secure

      greater volume discounts from that airline. As discussed above, large corporate clients

      typically designate a primary airline, which in practice provides the airline’s preferred

      status over the secondary airline for the entirety of its network. Corporations are willing

      to assign an airline primary position in order to negotiate deep discounts in exchange for

      volume commitments. The broader and deeper the primary airline’s network, the greater

      the ability of the corporation to meet higher volume commitments and secure better

      discounts.

26.   Third, the larger an airline’s presence in a specific airport, the more likely it is that the

      airline will be able to re-accommodate passengers to help remedy operational issues.

      When I worked with OpenSkies, we had only two airplanes until we acquired the French

      airline L’Avion, which also had only two airplanes. Even with four airplanes, if any one

      of those planes became inoperable due to maintenance issues, we could not avoid

      significant customer disruptions. Travel disruptions are extremely problematic for

      corporate customers because they can have a significant negative impact on the

      corporation’s business operations. As a result, corporations prefer airlines that are the

      least likely to have significant disruptions to their operations.




                                                 13
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 15 of 40

                                                                 HIGHLY CONFIDENTIAL
                                                         SUBJECT TO PROTECTIVE ORDER
       B.     Airlines Aim to Provide a Broad Network to Corporate Customers

27.    Airlines understand that corporate customers prefer airlines that can meet all of their

       travel needs reliably and affordably and often make adjustments to their networks

       specifically to attract more corporate customers.5 Travel agents sometimes directly

       advocate for airlines to expand their networks on behalf of the agents’ corporate

       customers. For example, while at Rosenbluth, I represented Unisys, an information

       technology company. Unisys had a preferred partner commitment to US Airways (now

       American). Unisys was able to convince US Airways to add a flight between

       Philadelphia and Detroit, which was primarily being serviced by Northwest Airlines

       Corp. (now Delta), at a deep discount in exchange for Unisys’s commitment to fly US

       Airways. Because US Airways had a broad network, Unisys was able to commit to give

       US Airways a certain percentage of its travel for that (and other) discounts.

28.    Airlines will also adjust their schedules and increase the frequency of specific routes to

       meet the demands of corporate customers. Corporations need flights at certain times of

       day, and an airline that has more frequent flights or is willing to adjust its schedule to suit

       the corporation’s needs is a more attractive airline. For example, when US Airways

       added a new route for Unisys, US Airways also scheduled flights on that route




5
  “Who We Are…”, AA-NEA-00066740, at -66747 (July 16, 2018) (“We go to the important
business markets where our CORPORATE customers fly: Transcons, JFK-LHR, Shuttle, Joint
Business and oneworld.”) (emphasis in original); Deposition of Vasu Raja, at 195:9–12 , United
States v. American Airlines Grp., Inc. and JetBlue Airways, Corp., Case No. 1:21-cv-11558, June
3, 2022 ( “Raja Deposition”) (“Our main reason to have kept LA/Boston, which was very
consumptive of airplanes, was to compete with Delta for entertainment based airline accounts.”);
see also Matthew Parsons, How United Airlines Is Crowdsourcing Corporate Clients to Rebuild
Routes, Skift (June 23, 2020), https://skift.com/2020/06/23/how-united-airlines-is-
crowdsourcing-corporate-clients-to-rebuild-routes/ (describing United’s efforts to collect
feedback from corporate customers on where United should grow its network).


                                                 14
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 16 of 40

                                                                HIGHLY CONFIDENTIAL
                                                        SUBJECT TO PROTECTIVE ORDER
       specifically in response to Unisys’ required travel times. In addition to saving money on

       airfare, Unisys travelers were able to save on hotel costs because the new schedule

       allowed for a day trip rather than a two-day trip with an overnight stay. On another

       occasion, United adjusted its schedule to accommodate Intel’s travel patterns between

       Phoenix and Washington, D.C. In that case, Intel travelers were able to turn three-day

       trips into two-day trips, thus saving travel time for their employees, as well as hotel and

       baggage-related expenses. Corporate travelers prefer being able to take shorter trips with

       fewer nights away from home, while businesses save on the cost of hotel rooms and

       meals when flights allow for quicker returns. For these reasons, in choosing an airline,

       corporate customers strongly prefer those that can offer the broadest network with the

       greatest flexibility and highest number of flights.6

29.    Though both of the above examples pertain to large corporations that had enough volume

       to secure their own discounts through direct negotiations with the airlines, customers in

       the small to medium enterprises segment can achieve the same goals using TMCs’

       networks.

       C.     The NEA Provides Customers With a Broader Network and Better Schedule

30.    In New York, before the NEA, Delta and United were the primary and logical options for

       most corporate customers, based on the sheer size of their networks and operations

       relative to other carriers. American was a distant third behind Delta and United in New



6
 Deposition of Andrew Murray, 39:18–24 United States v. American Airlines Grp., Inc. and
JetBlue Airways, Corp., Case No. 1:21-cv-11558, May 3, 2022, United States v. American
Airlines Grp., Inc. and JetBlue Airways, Corp., Case No. 1:21-cv-11558, May 3, 2022 (“Murray
Deposition”) (“Q. Would you agree that business travelers flying in and out of the three New
York City airport[s] demand regular and frequent service? A. Yes. I think that’s beneficial for
business travel in particular.”).



                                                15
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 17 of 40

                                                               HIGHLY CONFIDENTIAL
                                                       SUBJECT TO PROTECTIVE ORDER
       York because it could not offer a comparable number of route options or flights for those

       route options.7 In Boston, before the NEA, Delta was the primary and logical option for

       corporate customers, while American struggled to stay relevant.8 JetBlue was a large

       carrier in Boston but likewise struggled to compete with Delta for corporate travelers,

       particularly because of Delta’s strong global presence.9

31.    The NEA makes both airlines more competitive in New York and Boston because it

       allows each to offer their combined network to corporate customers, with flexibility to



7
  See “2Q20 Board of Directors Meeting: Robert’s Slides,” AA-NEA-01459671, at -1459732
(July 21, 2020) (“Separately, AA and B6 are distant 3rd/4th place competitors in major NYC
customer segments but combined AA+B6 have comparable scale to OA”); “Northeast
Alliance,” July 21, 2020, AA-NEA-01318020, at -1318022 (“Our sub-par customer offering [in
New York] produces weak competition for DL and UA”); “2021 Goals,” UA-000013662, at -
13679 (Mar. 19, 2021) (illustrating that United’s and Delta’s networks out of their respective
New York airports check the box on key network characteristics that American’s network out of
JFK does not and showing that United and Delta attract business traffic in New York while
American does not); “Network Strategy Update: December 2020,” AA-NEA-02136883, at -
21368914 (Dec. 14, 2020) (“Northeast corporate clients want an airline with depth and breadth in
both Boston and NYC; JetBlue is not as competitive for this business given its limited depth and
breadth generally, and with NYC business customers (largely limited to JFK, which is the less-
preferred airport for corporate travelers[.])”).
8
  “Northeast Alliance,” AA-NEA-01318020, at -23 (July 21, 2020) (“AA has continually lost
share in BOS while JetBlue faces a growing threat from Delta”; “JetBlue’s ability to be a full-
spectrum competitor depends on finding a way to offer its customers the kind of access to a
domestic and international network that Delta provides”); Deposition of Joseph Esposito, at
188:14–25, United States v. American Airlines Grp., Inc. and JetBlue Airways, Corp., Case No.
1:21-cv-11558, June 21, 2022 (“Q. Do you recall about when Delta passed American in terms of
its size in Boston? A. I don’t recall when they . . . put the networks together between American
and – and US Airways when they – when they formalized the merger. We had stayed about the
same size . . . . and I think that’s about where they are today, so they came from much higher –
they kind of reduced capacity over that time period.”).
9
  Deposition of Robin Hayes, at 164:21–165:3, United States v. American Airlines Grp., Inc. and
JetBlue Airways, Corp., Case No. 1:21-cv-11558, June 8, 2022 (“One of my biggest concerns as
the CEO of JetBlue is just effectively our loss of competitiveness in Boston, for example, against
Delta’s corporate travel machine, which is significantly more resource than what we are able to
do. And now with a partnership with American, I would expect to see growth in corporate
market share for JetBlue as well.”).



                                               16
         Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 18 of 40

                                                                   HIGHLY CONFIDENTIAL
                                                           SUBJECT TO PROTECTIVE ORDER
         optimize schedules and routes to the benefit of customers.10 Specifically, the NEA

         involves extensive codesharing and schedule coordination between the two carriers in

         both cities, allowing the carriers to sell each other’s flights.11 This permits each carrier to

         offer the combined network and increased flight frequencies to customers.12

32.      This creates better schedules and additional flexibility for customers in several ways.

         First, American and JetBlue have re-timed flights to offer hourly, nearly-hourly, or every-

         other-hour service on seven NEA routes: NYC to Los Angeles, San Francisco, Boston,

         Miami, and Raleigh-Durham and Boston to Miami, Chicago, and Washington D.C.13




10
   “NEA Update December 2021,” JBLU-LIT-02527087, at -2527091, -2527098, -2527107
(Dec. 2021) (explaining that American and JetBlue have adjusted their LGA schedules so that
“AA will be the primary carrier serving [corporate markets]” and “B6 will build robust leisure
network and high frequency BOS –LGA offering to complement existing NYC service”; that the
carriers have optimized their JFK schedules so that AA will be prioritizing international long
haul flying, JetBlue will be prioritizing “[g]rowth in new leisure/VFR markets plus key domestic
markets,” and that both airlines are prioritizing “[c]onnectivity into AA’s long haul operation”;
and that they have developed their BOS schedules so that American is prioritizing
“[c]omplementing JetBlue’s strength in Boston with new service to smaller, business oriented
cities” and that JetBlue is prioritizing continuing “to be the leading BOS carrier[,] adding new
O&Ds while restoring service to 2019 levels”).
11
   “NEA Annual Report Cover Letter,” AA-NEA-03301268, at -3301270 (Jan. 31, 2022) (“On
December 16, 2021, American and JetBlue announced even more codesharing, for a total of 185
routes by the end of 2022.”); “Codeshare Agreement Between American Airlines, Inc. and
JetBlue Airways Corporation,” AA-NEA-03276248 (July 15, 2020); JetBlue Launches First
Phase of Codeshare with American Airlines, Adding New Routes and Destinations, JetBlue
Investor Relations (Feb. 18, 2021), http://mediaroom.jetblue.com/ investor-relations/press-
releases/2021/02-18-2021-160050512 (“JetBlue’s codeshare with American begins February 25,
2021, with this first phase of flights on sale starting today. Initially, JetBlue’s code is being
placed on more than two dozen American routes and American’s code is being placed on more
than four dozen JetBlue routes.”)
12
     “Northeast Alliance,” AA-NEA-01318020, at -1318027 (July 21, 2020).
13
  “Expanded NEA Schedule Drives Consumer & Employee Benefits,” AA-NEA-01876541
(Nov. 30, 2021).



                                                   17
        Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 19 of 40

                                                                  HIGHLY CONFIDENTIAL
                                                          SUBJECT TO PROTECTIVE ORDER
33.      Second, this means new routes and additional service for customers. In a December 2021

         press release, American announced that “[t]ogether, JetBlue and American have added 63

         new routes, including 19 international flights that will launch by 2022 and increased

         frequencies on more than 130 routes . . . .”14 As of December 2021, the NEA planned to

         serve 40 of the top 50 domestic LGA origin and destination pairs (“O&Ds”) from LGA,

         49 of the top 50 domestic JFK O&Ds from LGA, and all 50 of the top 50 domestic JFK

         O&Ds from Boston.15 The improved network depth and breadth enabled by the NEA

         creates a formidable third option for many of the largest corporate customers with a

         presence in the Northeast, leading to greater competition with Delta and United.16

34.      American and JetBlue are offering their combined network with discounts. Many

         corporations and travel agency groups for both airlines can already benefit or will soon

         benefit from having the NEA codeshare flights now included in their travel programs

         with each carrier.17 This means that JetBlue could approach a customer and offer flights

         operated by both JetBlue and American in New York and Boston with a guaranteed


14
   JetBlue and American Airlines Offer Customers Record-Setting Summer Schedule out of New
York and Boston in 2022, American Airlines Newsroom (Dec. 16, 2021),
https://news.aa.com/news/news-details/2021/JetBlue-and-American-Airlines-Offer-Customers-
Record-Setting-Summer-Schedule-out-of-New-York-and-Boston-in-2022-NET-ALP-
12/default.aspx; see also “American Airlines, NYC Customer Event,” AA-NEA-03265308 at -
3265316–17(Apr. 6, 2022).
15
  “NEA Update December 2021,” JBLU-LIT-02527087, at -2527091, -2527096, -2527107
(Dec. 2021).
 “Northeast Alliance,” AA-NEA-01318020, at -01318029 (July 21, 2020) (illustrating how the
16

NEA could allow American and JetBlue to grow to rival or surpass the networks provided by
Delta and United);


                                                      .
17
     “NEA Annual Report Cover Letter,” AA-NEA-03301268, at -3301279 (Jan. 31, 2022).



                                                 18
        Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 20 of 40

                                                                   HIGHLY CONFIDENTIAL
                                                           SUBJECT TO PROTECTIVE ORDER
         discount (determined separately by JetBlue) on flights operated by either carrier and that

         a traveler who prefers American or JetBlue now has access to American and JetBlue

         flights that were not available as part of the corporate travel program before the NEA.

35.      Corporate clients that use American as their preferred airline now have access to JetBlue-

         operated flights in the Northeast as part of their contract, plus any discounts offered on

         their contracts, as well as the new routes facilitated by the NEA.18 Almost 200 of

         American’s largest corporate customers and about 150 of JetBlue’s largest corporate

         customers located in, or with significant traffic in, New York and Boston have already

         amended their existing agreements to participate in the NEA, and American has

         incorporated the NEA into its corporate program for SMEs as of December 2021.19 This

         is a strong indicator that corporate customers value the improved offering of the NEA

         even as business travel continues to struggle to recover from the COVID-19 pandemic.

36.      Thus, the NEA increases the likelihood that a corporate traveler’s preferred airline offers

         their desired route at a preferred time. Although corporations want to minimize the

         number of separate contracts they have with different airlines, the resulting contracts

         between corporations and airlines are often route-specific, meaning that the airline gives

         the corporation discounts on fares for certain routes in exchange for travel commitments

         on those same routes. As a result, when a corporation increases its traffic on other or new

         routes, it wants to ensure that its preferred airline partners will evaluate discounts on

         those routes as well. Expanding the scope of an existing contract with the same airline to



18
   McMenamin Deposition at 279:2–7 (“Q. Are there any other benefits for your corporate
travelers that you have not already mentioned coming from the NEA? A. The ability to utilize
their discounts on American-operated JetBlue codeshare flights. That’s a huge benefit.”).
19
     “NEA Annual Report Cover Letter,” AA-NEA-03301268, at -3301279 (Jan. 31, 2022).


                                                   19
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 21 of 40

                                                               HIGHLY CONFIDENTIAL
                                                       SUBJECT TO PROTECTIVE ORDER
       encompass new routes (where possible, based on the carrier’s network) is easier and more

       efficient than having to find a new airline to cover those new routes. This is exactly what

       the NEA does.

37.    The NEA is a significant benefit in particular for corporate customers or employees of

       corporate customers that prefer JetBlue’s brand and service, and those that prefer to

       accrue TrueBlue miles for personal travel. Most corporate customers, regardless of the

       market, would have been less likely to consider JetBlue as an option prior to the NEA

       because it has not historically offered the type of comprehensive network that corporate

       customers need. The NEA, as discussed above, improves JetBlue’s offering in the

       corporate segment, which expands options available to corporations and travelers.

       JetBlue can now credibly present itself as a competitive option for all corporate

       customers traveling to and from the Northeast.20

38.    The NEA also does not just combine the existing networks of American and JetBlue. It

       also improves the combined network because the network planners from both airlines are

       working together to create a more compelling customer proposition through more flights

       and a more favorable schedule. Such a seamless experience and optimized schedules

       would not be possible without the codesharing and schedule coordination elements of the

       NEA.21 This improved customer proposition has manifested itself with increased growth:


20
  McMenamin Deposition 277:12–22 (“[JetBlue has] a strong following in a lot of markets, and
then there’s also partners that we don’t work with that may not see the relevancy of JetBlue in a
program. But now with the strategic partnership, they definitely will give us a second look or
maybe we’re a little more relevant. We have just added some great new frequencies, new dots
on the map, places we hadn’t been able to get to.”).
21
   Deposition of Vasu Raja, at 264:3–9, Re: Investigation of JetBlue and American Airlines, June
2, 2021 (“It’s my view that short of being able to go engage in the two key features of this
partnership, scheduled coordination and revenue sharing, that we lack the ability and the



                                               20
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 22 of 40

                                                                HIGHLY CONFIDENTIAL
                                                        SUBJECT TO PROTECTIVE ORDER
       JetBlue and American have added 63 new routes, including 19 international flights that

       will launch by 2022 and increased frequencies on more than 130 routes.22

39.    The significant improvements to the networks being offered by American and JetBlue

       enabled by the NEA will enhance competition for corporate contracts. With the NEA,

       corporations that previously preferred Delta and United because of their more holistic

       network out of the Northeast can look to the combined NEA schedules of American or

       JetBlue to be included in their airline partner evaluations. This provides additional

       competitive options for corporations in selecting primary or secondary airlines in their

       airline portfolios. For example, American could win primary position with an account

       with which it historically held a secondary position behind United by offering better

       volume discounts over a larger number of O&Ds through the NEA. Even if the

       corporation opted to stay with United as the primary airline, the corporation could more

       credibly use the increased threat of American displacing United’s position to negotiate

       better overall discounts or perks from United.




incentives to go and create a truly seamless customer experience the way our competitors are
able to.”); Murray Deposition, at 129:20–131:14 (“Q. How does schedule coordination in the
NEA enhance competition and consumer choice in the New York City market? A. Yeah. So the
choice is sort of what we just talked about, so more itineraries unlocked. Competition, you
would – the premise would be, because there’s more attractive options, that makes those more
viable from a marketing standpoint, and that could be a benefit to competition if there’s more
attractive, viable itineraries available out of Kennedy, yeah, or connecting through Kennedy. For
example. Q. That would apply to the other two airports in the New York City area, correct? A.
Correct. Yeah.”).
22
   JetBlue and American Airlines Offer Customers Record-Setting Summer Schedule out of New
York and Boston in 2022, American Airlines Newsroom (Dec. 16, 2021),
https://news.aa.com/news/news-details/2021/JetBlue-and-American-Airlines-Offer-Customers-
Record-Setting-Summer-Schedule-out-of-New-York-and-Boston-in-2022-NET-ALP-
12/default.aspx; see also “American Airlines, NYC Customer Event,” AA-NEA-03265308, at -
3265316–17 (Apr. 7, 2022).



                                               21
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 23 of 40

                                                                HIGHLY CONFIDENTIAL
                                                        SUBJECT TO PROTECTIVE ORDER
VI.    THE NEA BENEFITS CUSTOMERS THROUGH EXPANDED LOYALTY
       PROGRAMS

40.    Customer loyalty programs for airlines play a central role in a corporation’s decision to

       partner with an airline and for corporate travelers in choosing which airline to use.23

       Corporate customers travel significantly more often than the average traveler and,

       therefore, are more likely to earn and use the myriad of benefits that loyalty programs

       offer.

41.    American’s AAdvantage program allows customers to earn miles when flying with

       American or when using the services of partner companies.24 Miles can be redeemed for

       air travel, hotel stays, car rentals, and vacation packages, and they can also be transferred

       to another account.25 Members with an AAdvantage-affiliated Mastercard or Citi credit

       card can also earn miles for everyday purchases.26 JetBlue‘s TrueBlue program allows

       members to earn points for every dollar they spend on JetBlue-operated flights, JetBlue

       Vacations packages, and hotel stays at participating IHG Properties.27 Purchases made



23
  Deposition of James Carter, at 142:19–143:3, United States v. American Airlines Grp., Inc.
and JetBlue Airways, Corp., Case No. 1:21-cv-11558, May 26, 2022 (“A. Loyalty is very
powerful. It’s not easy to match, either. All these other levers you’ve been talking about with
tacticals and pricing, that’s all easily matched. Loyalty is harder to match. Q. That’s a
competitive differentiator, right? A. It’s a huge difference when you are providing unique
services to your most . . . valued travelers.”).
24
  Redeem Miles, American Airlines, https://www.aa.com/i18n/advantage-program/miles/
redeem/ redeem-miles.jsp (last accessed May 23, 2022).
25
   Id.; Zach Griff, A New Era Begins: American Has Revamped How You Earn Elite Status with
“Loyalty Points,” The Points Guy (Mar. 1, 2022), https://thepointsguy.com/news/american-
airlines-aadvantage-loyalty-points/.
26
  AAdvantage Credit Cards, American Airlines, https://www.aa.com/i18n/aadvantage-
program/miles/partners/credit-card/aadvantage-credit-cards.jsp (last accessed May 23, 2022).
27
  Earnings Points, JetBlue, https://www.jetblue.com/trueblue/earning-points (last accessed July
11, 2022).



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           Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 24 of 40

                                                                     HIGHLY CONFIDENTIAL
                                                             SUBJECT TO PROTECTIVE ORDER
           with a JetBlue Card, JetBlue Plus Card, or JetBlue Business Card by Barclays also give

           members points, which can be redeemed for flights.28 TrueBlue members can also

           participate in Points Pooling with up to six other friends and family members and redeem

           their points together for award flights.29

42.        The greater the ability to consolidate one’s loyalty “miles” or “points,” the better, as the

           rewards offered by airlines for achieving certain milestones become significantly higher

           in value for the customer as the miles or points accumulate. For example, someone who

           is an AAdvantage-elite member accrues miles from flights at an accelerated rate

           compared to the five-miles-per-dollar rate that a general member earns: Gold-Status

           members are awarded seven miles per dollar, Platinum-Status members are awarded eight

           miles per dollar, Platinum-Pro members are awarded nine miles per dollar, and

           Executive-Platinum members are awarded 11 miles per dollar.30 These multipliers count

           towards earning Loyalty Points, which are exchanged for benefits from American

           Airlines and their partners.31 Besides awards such as tickets, hotel stays, car rentals,

           vacation packages, and merchandise, travelers accumulate Loyalty Points in order to




28
     Id.
29
  Points Pooling, Jet Blue, https://www.jetblue.com/trueblue/points-pooling (last accessed July
11, 2022).
30
   Zach Griff, A New Era Begins: American Has Revamped How You Earn Elite Status with
“Loyalty Points,” The Points Guy (Mar. 1, 2022), https://thepointsguy.com/news/american-
airlines-aadvantage-loyalty-points/.
31
   Redeem Miles, American Airlines, https://www.aa.com/i18n/advantage-
program/miles/redeem/redeem-miles.jsp (last accessed May 23, 2022); Liz Hund, How to Earn
Bonus Miles through the AAdvantage Shopping Portal (Mar. 14, 2022),
https://thepointsguy.com/news/american-airlines-shopping-portal/.



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      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 25 of 40

                                                                 HIGHLY CONFIDENTIAL
                                                         SUBJECT TO PROTECTIVE ORDER
       achieve elite status.32 The benefits at each status level are very much coveted by business

       travelers, and once they achieve their sought-after status they prioritize retaining their

       status. Many other airlines, including United and Delta, operate similar programs.33

43.    The benefits from the loyalty programs have a significant equivalent monetary value.

       The Points Guy, a travel website and blog, values AAdvantage Gold, AAdvantage

       Platinum, AAdvantage Platinum Pro, and AAdvantage Executive Platinum at $560,

       $1,720, $3,845, and $7,975.34 It values JetBlue Mosaic at $1,620 and JetBlue Mosaic+ at

       $5,155.35 As a result of the NEA, a substantially greater number of corporate travelers

       will be able to enjoy more status benefits more quickly.

44.    Because of the NEA, American and JetBlue are allowing customers that fly on either

       airline’s routes to benefit from each other’s airline loyalty programs. American’s

       AAdvantage members can accrue and use miles on all JetBlue flights, while JetBlue

       TrueBlue customers can also earn and redeem points for flights operated by American.36

       High-earning loyalty members for each airline, JetBlue Mosaics and American



32
   Zach Griff, A New Era Begins: American Has Revamped How You Earn Elite Status with
“Loyalty Points,” The Points Guy (Mar. 1, 2022), https://thepointsguy.com/news/american-
airlines-aadvantage-loyalty-points/.
33
  United MileagePlus, United, https://www.united.com/en/us/fly/mileageplus.html (last
accessed May 23, 2022); SkyMiles Program, Delta, https://www.delta.com/us/en/skymiles/
overview (last accessed May 23, 2022).
34
  Kyle Olsen, What Is American Airlines Elite Status Worth in 2022?, The Points Guy (May 25,
2022), https://thepointsguy.com/guide/what-is-aa-elite-status-worth/.
35
   Stella Shon, What is JetBlue Elite Status Worth in 2022?, The Points Guy (Mar. 2, 2022),
https://thepointsguy.com/guide/what-is-jetblue-elite-status-worth/.
36
  American Airlines and JetBlue Introduce Enhanced Perks for Loyalty Status Members Made
Possible Through the Northeast Alliance, (Mar. 23, 2022), https://news.aa.com/news/news-
details/2022/American-Airlines-and-JetBlue-Introduce-Enhanced-Perks-for-Loyalty-Status-
Members-Made-Possible-Through-the-Northeast-Alliance-NET-ALP-03/default.aspx.



                                                 24
           Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 26 of 40

                                                                   HIGHLY CONFIDENTIAL
                                                           SUBJECT TO PROTECTIVE ORDER
           AAdvantage status members, receive the most benefits. AAdvantage status members are

           eligible for complimentary “Even More Space” seating on all JetBlue-operated flights,

           and JetBlue Mosaics are eligible for complimentary “Main Cabin Extra” seating on

           American-operated flights.37 JetBlue Mosaics members are able to check two

           complimentary bags at American kiosks while American AAdvantage status members

           can do the same when traveling on JetBlue-operated flights.38 AAdvantage status

           members at the Platinum Pro level or higher enjoy same-day changes when traveling on

           JetBlue-operated flights, and JetBlue Mosaics have the same perk when flying on

           American-operated flights.39 Additionally, American Admirals Club members traveling

           on JetBlue flights get access to Admirals Club lounges, which feature complimentary

           amenities like food and beverages, Wi-Fi, business centers, and kids’ rooms, including

           the newly opened lounge space at LGA.40

45.        These are significant benefits to customers. Travelers place high value on their ability to

           earn and redeem loyalty points and enjoy status benefits.

VII.       THE NEA BENEFITS CUSTOMERS THROUGH AN ENHANCED
           EXPERIENCE AT NEA AIRPORTS AND ON NEA FLIGHTS

46.        Simply stitching together through codesharing two networks of airlines that offer

           different types of products will not provide corporate customers the travel experience

           they expect, particularly out of the NEA airports. American and JetBlue seem to

           recognize this issue and they have been working proactively to make this virtual network


37
     Id.
38
     Id.
39
     Id.
40
     Id.



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        Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 27 of 40

                                                                 HIGHLY CONFIDENTIAL
                                                         SUBJECT TO PROTECTIVE ORDER
         as seamless as possible (and therefore more competitive against Delta and United) for

         customers. For example, American and JetBlue have made significant improvements to

         the booking and check-in process for mutual customers for flights to and from the

         Northeast.41

47.      Because of their partnership through the NEA, both companies have committed to

         extensive infrastructure improvements to enhance the airport experience for customers.

         At LGA, almost all of American and JetBlue’s flying is now co-located at LaGuardia’s

         new Terminal B.42 Co-location enables easier connections between the airlines, which is

         important to travelers because it saves time.43 American and JetBlue will similarly be

         able to operate from adjacent gates in EWR when Terminal A is completed.44 And at


41
   “American Airlines, NYC Customer Event,” AA-NEA-03265308, at -3265337 (Apr. 6, 2022)
(illustrating enhancements American and JetBlue have made to the customers’ travel journey,
including the ability to view availability on each other’s flights on either website, the ability to
choose seats on each other’s flights on either website, automatic reminder emails for codeshared
flights, JFK bus transportation for terminal transfers, convenient airport wayfinders, and ability
to earn frequent flier miles); “NEA Annual Report Cover Letter,” AA-NEA-03301268, at -
3301280 (Jan. 31, 2022) (“Seamless integration of services offered by two independent airlines
requires significant time and resources to implement and is fraught with challenges. However,
American and JetBlue have been working diligently to overcome these challenges, and have
already made great progress in improving the NEA customer experience. Customers are already
able to purchase NEA flights on American’s and JetBlue’s websites with ease.”); Leslie Josephs,
JetBlue Revamps Website to Avoid Confusion with New Partner American Airlines, CNBC (Oct.
1, 2021), https://www.cnbc.com/2021/10/01/jetblue-revamps-website-to-avoid-confusion-with-
new-partner-american-airlines.html.
42
   JetBlue Expands at LaGuardia With Presence at Two Terminals and Significant Growth Made
Possible by Its Northeast Alliance, JetBlue Investor Relations (Oct. 29, 2021),
http://mediaroom.jetblue.com/ investor-relations/press-releases/2021/10-29-2021-150012833.
43
  Id.; Murray Deposition, at 90:17–91:5 (“A. Yes. I knew that JetBlue was in our Terminal A,
Marine [A]ir [T]erminal, but had ultimately wished to be in the new Terminal B. Q. And what
impact does that co-locating have on connections for travelers?” . . . A. So if there’s a significant
degree of connecting traffic between JetBlue and American flights or vice versa, to the extent
that those gates are near each other, that would – the connection would be much simpler.”).
44
     “NEA Annual Report Cover Letter,” AA-NEA-03301268, -3301276 (Jan. 31, 2022).



                                                 26
        Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 28 of 40

                                                                   HIGHLY CONFIDENTIAL
                                                           SUBJECT TO PROTECTIVE ORDER
         JFK, American and JetBlue have committed to investing $50 million in infrastructure

         investments, which includes a bus that is already operating between Terminal 5 and

         Terminal 8 at JFK every 15 minutes that enables travelers to transfer between American’s

         and JetBlue’s gates without going through security. 45 This shuttle reduces connection

         times to within 9–12 minutes from 20–45 minutes on the AirTran, which was previously

         the only option for transferring between terminals.46 Once the expansion is completed,

         premium customers will be able to use a co-branded check-in area providing concierge-

         style service, three distinctive custom lounges, a champagne bar, a fireside lounge, an a la

         carte dining room, a wine bar, a cocktail lounge, a library, and a buffet.47 Finally, in

         Boston, a post-security connector between Terminal B, where American operates, and

         Terminal C, where JetBlue operates, is expected to be completed in 2022 in order to

         allow NEA customers to conveniently connect without having to go back through

         security.48

48.      Corporate travelers also value a comfortable airport experience through the use of perks

         that come along with loyalty status such as lounges, priority boarding, an expedited




 “American Airlines, NYC Customer Event,” AA-NEA-03265308, at -3265352 (Apr. 6, 2022);
45

Northeast Alliance Update,” AA-NEA-01525894, at -1525898–99 (Aug. 23, 2021).
46
   Id. at -3265352; Murray Deposition, at 99:13–100:5 (“So the main means of connections
between terminals at JFK is the air train. But there’s an obvious drawback there in terms of
connectivity or connecting activity across the two networks of those carriers because you would
have to go back from security. It’s a pretty long walk from T5 to the air train. And then you
take the train to Terminal 8 . . . . So the benefit of the air-side shuttle is it – it prevents the need
to do that more circuitous trip, and it is meant to facilitate connections across those two networks
between the carriers.”).
47
     “American Airlines, NYC Customer Event,” AA-NEA-03265308, at -3265351 (Apr. 6, 2022).
48
     “NEA Annual Report Cover Letter,” AA-NEA-03301268, -3301277 (Jan. 31, 2022).



                                                  27
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 29 of 40

                                                                 HIGHLY CONFIDENTIAL
                                                         SUBJECT TO PROTECTIVE ORDER
       security process, and the ability to check baggage for no additional cost.49 Travelers

       would rather sit in a comfortable airline lounge with a bar, snacks, and refreshments than

       sit in the general lounge area, and they would rather be the first to board their flight rather

       than boarding last, when all of the overhead space has been taken. They also prefer to zip

       through security and check-in with priority status, rather than standing in a long security

       or check-in line. Quality of life on the road while traveling for business is tough on most

       people, and these types of perks are important to minimizing the distractions tied to

       business travel and allowing travelers to better focus on the purpose of their trip, as

       opposed to the trip itself. I have seen the importance of this firsthand, as corporations

       often negotiate a matching of specific loyalty levels when switching preferred airlines

       and negotiating a contract with a new airline.

49.    Prior to the NEA, JetBlue did not offer an ideal airport experience for corporate travelers

       because, unlike several of its competitors, JetBlue did not have lounges. The NEA

       enhances travelers’ airport experience when they fly with either airline. JetBlue and

       American customers now have access to the benefits from both airlines. For example,

       American’s Admirals Club members have received access to the lounges when flying on

       JetBlue-ticketed and -operated flights since April 2022.50




49
   Murray Deposition, at 188:21–189:14 (“Q. And what are the factors that can influence a
passenger’s airport choice? . . . A. Airport amenities. There are certain travelers who travel a
lot, who that’s very valuable to, typically business travelers.”).
50
  Zach Griff, American, JetBlue Launch Another Round of Reciprocal Elite Benefits, The Points
Guy (Mar. 23, 2022) https://thepointsguy.com/news/american-airlines-jetblue-northeast-alliance-
loyalty-
benefits/#:~:text=Lounge%20access%20when%20flying%20JetBlue,operated%20flights%20beg
inning%20in%20April.



                                                 28
           Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 30 of 40

                                                                     HIGHLY CONFIDENTIAL
                                                             SUBJECT TO PROTECTIVE ORDER
50.        American has also introduced Main Select, which is designed to better meet the needs of

           modern corporate customers, on key business routes, such as LGA to DCA, LGA to

           ORD, BOS to DCA, and DFW and LAX. Main Select allows for refundable fares,

           priority boarding, priority check-in, choice of all seats in Main Cabin at time of booking,

           and free same-day flight changes.51 JetBlue has added Blue Extra on both leisure and

           corporate routes, which offers same-day flight changes, on high-frequency routes such as

           LGA to BOS and Even More Speed, which includes early boarding.52 While not the

           result of the NEA specifically, NEA customers will have the opportunity to take

           advantage of these perks when traveling with either airline.

51.        These benefits also encourage travelers to comply with their corporate travel policies and

           use the company’s designated preferred airline partners.53 This increases the value of the

           corporate offering because it makes it easier for corporations to meet their volume target

           and keep their negotiated discounts with airlines, while also keeping their employees

           happy. Therefore, the more airport perks a corporation can get from an airline, the more

           likely a corporation is to use that airline as its preferred provider, as corporate customers

           and TMCs consider such perks when negotiating or considering a partner. The NEA




51
  Id.; Donna M. Airoldi, American Airlines Introduces Main Select Fares for Business
Travelers, Travel Weekly (June 23, 2022), https://www.travelweekly.com/Travel-News/Airline-
News/AA-introduces-Main-Select-fares.
52
     Id.
53
   “NEA Advanced Bookings,” AA-NEA-03020232, at -3020242 (Sept. 13, 2021) (BNP Paribas
in North America states, “I, too, am very excited to hear about this strategic partnership with AA
and JetBlue for our corporate travel program at BNP Paribas in North America. A few reasons
why I think this would be a great addition to our program: It . . . [k]eeps our travelers compliant
with preferred airlines, less out of policy exceptions . . . .”).



                                                     29
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 31 of 40

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                                                       SUBJECT TO PROTECTIVE ORDER
       benefits offered to American customers flying on JetBlue and to JetBlue customers flying

       on American make both airlines more attractive and competitive.

VIII. TRAVELERS BENEFIT FROM THE USE OF LARGER, BETTER-EQUIPPED
      AIRCRAFT ON NEA ROUTES

52.    American and JetBlue have made improvements to their product offering that make both

       airlines more attractive to corporate customers, such as adding larger, better-equipped

       aircraft on some NEA routes and implementing lie-flat seats on many Transcon routes.54

       Larger airplanes have more seats and provide more opportunity for travelers to find aisle

       or window seats. Larger airplanes tend to have more legroom and provide an increase

       ability to roam the cabin, thereby making passengers feel less confined. Larger airplanes

       are also more likely to have more than one class of service, providing travelers with the

       opportunity to enjoy additional comfort from upgraded seats.

53.    As American and JetBlue have expanded their Transcon service offering described

       above, they have worked to improve the quality of travel for customers. For example,

       American and JetBlue have announced plans to implement lie-flat offerings on JetBlue’s

       Mint and American’s A321T fleet on major Transcon flights from the Northeast by the

       end of 2022, including on flights between LAX and NYC and BOS, SNA and NYC, SAN

       and BOS and NYC, SFO and BOS and NYC, and SEA and BOS and NYC.55 I


54
  American Airlines and JetBlue’s Northeast Alliance Will Give Customers Access to the
Largest Flight Schedule on the Most Connected Network in 2022, American Airlines Newsroom
(Nov. 9, 2021), https://news.aa.com/news/news-details/2021/American-Airlines-and-JetBlues-
Northeast-Alliance-Will-Give-Customers-Access-to-the-Largest-Flight-Schedule-on-the-Most-
Connected-Network-in-2022-NET-RTS-11/default.aspx.
55
   JetBlue and American Airlines Partnership Makes it Easier Than Ever for Customers to
Return to Travel with Largest Schedule, More Benefits and a Seamless Travel Experience,
JetBlue Investor Relations (July 20, 2021), http://mediaroom.jetblue.com/investor-
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                                               30
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 32 of 40

                                                                HIGHLY CONFIDENTIAL
                                                        SUBJECT TO PROTECTIVE ORDER
       understand that as a result of the growth opportunities generated by the NEA, American

       removed 50-seat regional aircraft from all routes originating in New York, which gives

       customers leaving from New York all of the benefits associated with larger aircraft.56

IX.    CONCLUSION

54.    During my forty years in the airline industry, I have found that corporate customers are

       looking for (1) the broadest airline network possible, (2) the benefits offered by loyalty

       programs, (3) a smooth travel experience, and (4) comfortable, well-equipped airplanes.

55.    Overall, the NEA provides benefits to customers primarily through: (1) expanded service;

       (2) improved flight schedules; (3) expanded loyalty programs; (4) an enhanced

       experience at NEA airports and on NEA flights; and (5) larger, better-equipped aircraft

       on NEA routes. These benefits map perfectly onto exactly what corporate customers are

       looking for.

56.    The NEA makes both airlines more competitive in New York and Boston because it

       allows each to offer their combined network to corporate customers and to provide

       benefits that corporate customers need that neither airline was able to provide on its own.




                                                                                       July 11, 2022
                                                                     Ron DiLeo                  Date




56
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Provide a Premier Travel Experience in the Northeast, American Airlines Newsroom (Apr. 21,
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                                                31
              Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 33 of 40

                                                                  HIGHLY CONFIDENTIAL
                                                          SUBJECT TO PROTECTIVE ORDER
                                     APPENDIX A: CV OF RON DILEO


Ronald C. DiLeo
                                 professional summary
                                 A seasoned executive with 40 years business experience and a broad background
                                 in areas critical for strong senior management. Skilled in both large company and
                                 entrepreneurial environments. A proven achiever in business turn-arounds with a
                                 vast array of business experience in most major business centers around the world.
                                 A commercial business leader with a strong reputation for creative insight and an
home:                            orientation that is both strategic and bottom-line oriented. An inspirational leader and
420 E 64th Street - Apt E10C     a team builder with a track record of developing high performing teams that drive
New York, NY 10065               continuous innovation. In summary, an experienced and accomplished management
United States                    professional recognized for driving high employee and customer satisfaction results
                                 while delivering strong shareholder value.
p: +1.610.945.4069
e: rondileo@mac.com
                                 key skills and attributes
oﬃce:                                Extensive background in all areas of staff management, budget development,
The In the Black Group                strategic planning, public relations, sales and marketing
Five Penn Plaza - 23rd Floor
                                     Proven track record in business transformation leadership
New York, NY 10001
                                     Strong communication, public speaking, presentation and facilitation skills
p: +1.610.945.4069
e: ron@rondileo-intheblack.com
                                     Skilled negotiator
                                     Strong aptitude in organizational effectiveness
                                     Proven ability to attract, recruit, develop and retain talent
                                     Strategic thinker with consideration for a broad range of internal and external
                                      factors when making decisions
                                     Ability to convey a sense of urgency and drive issues to closure with
                                      relentless pursuit despite obstacles and opposition
                                     Generator of new ideas; going beyond the status quo, enterprising and
                                      resourceful

                                 professional experience
                                 April 2007 – Present: The In the Black Group, New York, NY
                                 Current Position – Founder and President
                                 The In the Black Group is a business performance consultancy providing a diverse
                                 portfolio of services to companies in travel and tourism including travel
                                 management companies, travel agencies and airlines. Service categories include
                                 M&A, sales, marketing, loyal programs, client/customer management, operations,
                                 supplier relations and organizational effectiveness. The firm also does work in the
                                 payment systems industry on the supply side. ITB is connected with several angel
                                 investor networks based in Europe and the U.S. to identify and fund new ventures.
                                 RESULTS: 100% client retention with consistent YOY growth.
                                 May 2014 - Present: safetravelRx Inc.
                                 Current Position: Co-Founder and CEO
                                 This is a start-up company that is building travel safety and risk management
                                 applications that connect to individuals via smart phone technology. This SaaS
                                 technology focuses on the consumer aspects of travel through connections within
                                 the B2C travel sector. RESULTS: Soft launch in July 2017; full launch November
                                 2018 all with “bootstrap” funding.




                                                        32
                  Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 34 of 40




                                                                                               Ronald C. DiLeo
                                                                                                     curriculum vitae

        professional             August 2014 - November 2015: ALTOUR International
         experience              Final Position: Executive Vice President and Chief Commercial Officer
                (continued)      Altour was the largest independently owned travel management company in the United
                                 States consisting of luxury HNW travel clientele, as well as business travel and
                                 meetings/incentive businesses. This role included executive oversight for all of the
                                 commercial sides of the business owned globally as well as businesses operated
                                 through alliance partners. RESULTS: 10% revenue growth and launch into Fortune 500
                                 client segment.
                                 July 2012 - February 2014: AirPlus International, Inc.
                                 Final position: President and CEO
                                 AirPlus International is a global charge card and financial services company in the
home:                            business travel industry, independently operated but wholly owned by the Lufthansa
420 E 64th Street - Apt E10C     Airlines Group. This role included executive oversight for all commercial and operational
New York, NY 10065               functions in North America. RESULTS: 10% growth in sales; developed JPMChase bank
United States                    partner relationship.
p: +1.610.945.4069               July 2010 - December 2012: Association of Corporate Travel Executives
e: rondileo@mac.com              Final position: Executive Director
oﬃce:                            The Association of Corporate Travel Executives (ACTE) was a trade association
The In the Black Group           consisting of 31,000+ members and delegates spread across 82 countries around the
Five Penn Plaza - 23rd Floor     world. ACTE focused on education and advancing the interests of both buyers and
New York, NY 10001               suppliers in the business travel segment. RESULTS: Tripled revenue within 12 months
                                 and grew membership by 50%.
p: +1.610.945.4069
e: ron@rondileo-intheblack.com   July 2007 – October 2008: British Airways OpenSkies, New York, NY
                                 Final Position – Chief Commercial Officer
                                 A British Airways consulting contract to assist with the launch of a start-up subsidiary
                                 airline, OpenSkies, that led to assuming the position of Chief Commercial Officer.
                                 Commercial activities in Europe and the United States included all aspects of customer
                                 services, marketing, sales, distribution, and revenue management. RESULTS: Airline
                                 launched in 18 months from board approval to inaugural flight and was profitable within
                                 12 months of launch.
                                 October 2003 – January 2007: American Express, London, UK
                                 Final Position – Senior Vice President and General Manager, Head of Business
                                 Travel EMEA
                                 •   Regional accountability for all aspects of the travel business in Europe, the Middle
                                     East, and Africa including operations, client retention and growth, sales, marketing,
                                     and supplier relations, with full P&L responsibility. RESULTS: Doubled sales and
                                     tripled EBITDA over three years.
                                 •   Board member of American Express Europe Ltd. (AEEL), reporting to Group
                                     President.
                                 1978 – October 2003: Rosenbluth International, Philadelphia, PA
                                 Final Position – Chief Operating Officer, Corporate Travel Division
                                 Board level executive of the travel management company with global accountability for
                                 all operations, client retention and growth, sales, marketing, supplier relations, finance,
                                 learning and development, and human resources; included oversight for all Rosenbluth
                                 corporate travel business activity in 54 countries. RESULTS: Company sold for 6x
                                 EBITDA when market trended at 3x-4x.
      Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 35 of 40




                      APPENDIX B: DOCUMENTS RELIED UPON

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                                              34
     Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 36 of 40

                                                             HIGHLY CONFIDENTIAL
                                                     SUBJECT TO PROTECTIVE ORDER
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                                              35
     Case 1:21-cv-11558-LTS Document 152-1 Filed 09/09/22 Page 37 of 40

                                                              HIGHLY CONFIDENTIAL
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                                              39
